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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:08CR105
                        Plaintiff,                )
                                                  )
       vs.                                        )              ORDER
                                                  )
ARTHUR W. JONES,                                  )
                                                  )
                        Defendant.                )


       This matter is before the Court on the motion of defendant Arthur W. Jones (Jones)
for an extension of the pretrial motion deadline (Filing No. 121). The motion does not
comply with NECrimR 12.3 (a) and paragraph 9 of the Progression Order (Filing No. 92)
in that the motion is not accompanied by the defendant’s affidavit or declaration stating that
defendant:
       (1)    Has been advised by counsel of the reasons for seeking a continuance;
       (2)    Understands that the time sought by the extension may be excluded from any
              calculation of time under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.; and
       (3)    With this understanding and knowledge, agrees to the filing of the motion.

       Accordingly, the motion (Filing No. 121) is :
              (X)       Held in abeyance pending compliance with NECrimR 12.3(a) and
                        Paragraph 9 of the Progression Order. Absent compliance on or
                        before June 9, 2008, the motion will be deemed withdrawn and
                        termed on the docket.
              (     )   Denied.


       IT IS SO ORDERED.


       DATED this 4th day of June, 2008.
                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
